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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 JENNY L. FLORES, ET AL.,                                                 CASE NUMBER
                                                                                               CV 85-4544-DMG (AGRx)
                                                           Plaintiff(s)
                              v.
 WILLIAM BARR, ET AL.                                                          ORDER ON APPLICATION OF NON-
                                                                             RESIDENT ATTORNEY TO APPEAR IN A
                                                       Defendant(s).             SPECIFIC CASE PRO HAC VICE
The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Cambria, Bridget                                                                  of     Aldea- The People’s Justice Center
  Applicant’s Name (Last Name, First Name & Middle Initial                                 532 Walnut Street
  610-451-1792                              484-722-8003                                   Reading, PA 19601
  Telephone Number                          Fax Number
  bridget@aldeapjc.org
                               E-Mail Address                                              Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of

  Amici Aldea- The People’s Justice Center, Proyecto Dilley, RAICES



  Name(s) of Party(ies) Represent                                    Plaintiff(s) ☐ Defendant(s) ☐ Other:
and designating as Local Counsel
  Barenfeld, Gabriel S.                                                              of    Nelson & Fraenkel LLP
  Designee’s Name (Last Name, First Name & Middle Initial                                  601 South Figueroa Street, Suite 2050
  224146                            213-622-6469                    213-622-6019           Los Angeles, CA 90017
   Designee’s Cal. Bar No.           Telephone Number               Fax Number
  gbarenfeld@nflawfirm.com
                                E-Mail Address                                             Firm/Agency Name & Address
HEREBY ORDERS THAT the Application be:
  ☒GRANTED
  ☐DENIED:            ☐      for failure to pay the required fee.
                      ☐      for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                      ☐      for failure to complete Application:
                      ☐      pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                             is regularly employed or engaged in business, professional, or other similar activities in California.
                      ☐      pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                             District.
                      ☐ because
IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.


Dated: August 7, 2020
                                                                                          Dolly M. Gee, U.S. District Judge


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